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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,                    Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                   Chief Judge Shelly D. Dick

NANCY LANDRY, in her official capacity as           Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                    Consolidated with
                                                    Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana,

                     Defendant.

           LEGISLATIVE INTERVENORS’ RESPONSE IN OPPOSITION TO
                PLAINTIFFS’ MOTION FOR RECONSIDERATION

       A motion to alter or amend judgment is “an extraordinary measure that should rarely be

granted[.]” Humphrey v. United Way of Texas Gulf Coast, 802 F. Supp. 2d 847, 853 (S.D. Tex.

2011). This case does not warrant such an extraordinary measure. The Court properly dismissed

this case because “H.B. 1 . . . is the challenged action before this Court” and it is undisputed that

H.B. 1 has been repealed. Doc. 371 at 10. The ruling and injunction issued in Callais v. Landry,

No. 3:24-cv-00122, 2024 WL 1903930 (W.D. La. Apr. 30, 2024), did not result in H.B. 1 becoming

the law of Louisiana again. As the Galmon Plaintiffs admit, the ruling leaves the State without

“any operative congressional plan.” Doc. 372-1 at 9. A new plan will emerge from the Callais

remedial process, but it is unknown what it will be or even who will configure it. The Galmon
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Plaintiffs cannot show that such a plan would be vulnerable to a Section 2 challenge, that they

would have standing to challenge any districts in such a plan, or that this Court may review it.

Accordingly, it is—at best—highly speculative to assert that any claim cognizable in this forum

will ever ripen into a live dispute. Nor is there any merit in the Galmon Plaintiffs’ demand that this

Court conduct the remedial process that is necessitated by another court’s injunction. This case is

over, and the Galmon Plaintiffs have not shown otherwise.

       A.      The Challenge To H.B. 1 Is Moot

       The Galmon Plaintiffs acknowledge that relief under Rule 59(e) is proper only “(1) where

there has been an intervening change in the controlling law; (2) where the movant presents newly

discovered evidence that was previously unavailable; or (3) to correct a manifest error of law or

fact.” Demahy v. Schwarz Pharma, Inc., 702 F.3d 177, 182 (5th Cir. 2012); see Doc. 372-1 at 2.

They appear to argue only to the second element. See Doc. 372-1 at 3–4. But the ruling is not “new

evidence,” id. at 3, that was previously unavailable, and it does not undermine the Court’s ruling.

       First, the Callais ruling is not “newly discovered evidence.” Rosenzweig v. Azurix Corp.,

332 F.3d 854, 863 (5th Cir. 2003). The Galmon Plaintiffs rested their opposition to the motion to

dismiss this case as moot on the possibility that “the Callais plaintiffs [may] succeed on their as-

yet unopposed motion for preliminary injunction.” Doc. 358 at 3. And the Court addressed this

possible outcome in a section of its dismissal ruling titled: “C. Implication of Callais Litigation.”

Doc. 371 at 8. In that section, the Court explained that this case challenges “the 2022 congressional

map, [also known as H.B. 1]” and that “S.B. 8 has repealed H.B. 1.” 1 Id. at 9 (quotation and

alternation marks omitted). Given that repeal, the Court correctly concluded that “no substantial



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  See also Doc. 370 at 5 (“This case involves a statutory challenge under the Voting Rights Act
(“VRA”) to the now-repealed congressional map, House Bill 1 (‘H.B. 1’)”).


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controversy remains to warrant a declaratory judgment,” regardless of the Callais outcome. Id.

Accordingly, the injunction in Callais does not qualify as “evidence that was previously

unavailable.” Demahy, 702 F.3d at 182. The Galmon Plaintiffs are rearguing a point they raised

before judgment and lost. 2 The Galmon Plaintiffs do not address the Court’s rationale in rejecting

their argument, see Doc. 372-1 at 3–4, or supply a basis for the Court to revisit it.

       Second, the Court’s rationale remains correct. The Galmon Plaintiffs do not deny that

S.B. 8 repealed H.B. 1, and they do not contend that the Callais ruling “un-repeals” H.B. 1 to make

it, as a matter of law, the operative Louisiana congressional districting statute. Nor could they. The

Callais court enjoined Louisiana “from using SB8’s map of congressional districts for any

election,” Callais v. Landry, No. 3:24-cv-00122, 2024 WL 1903930, at *24 (W.D. La. Apr. 30,

2024) (emphasis added), but did not disturb the Legislature’s repeal of H.B. 1. Accordingly, it is

common ground that the Callais ruling leaves the State “with no lawful map in place.” Doc. 372-

1 at 1; see also id. at 9 (“Louisiana lacks any operative congressional plan”). 3 Because H.B. 1

remains repealed, Plaintiffs’ challenge to it is no more live today than when this Court ruled.

       The Galmon Plaintiffs seek to avoid this clear conclusion by recharacterizing their claims

in abstract terms. They say they challenge “the absence of a congressional map with the two

required Black-opportunity districts” and that “the absence of two majority-minority districts has

returned.” Doc. 372-1 at 3–4. But a redistricting case cognizable under Article III must challenge

a map—in fact, districts in a map—not the “absence” of a map. The harm under Section 2 is



2
  To be sure, the Court correctly declined to “presume the outcome of” Callais in considering
injunctive relief, Doc. 371 at 8, but its rationale under the Declaratory Judgment Act did account
for the scenario of a Callais injunction against S.B. 8, see id. at 9.
3
  Robinson Plaintiffs represented to the Callais court that “as the result of [that] Court’s order,
there is currently no map in place[.]” Robinson Intervenors’ Mot. for Stay, Callais v. Landry, No.
3:24-cv-122, ECF No. 201-1, at 9 (W.D. La., filed May 1, 2024).


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dilution of votes, and “that injury is district specific.” Gill v. Whitford, 585 U.S. 48, 66 (2018); see

Harding v. Cnty. of Dallas, Texas, 948 F.3d 302, 307 (5th Cir. 2020) (applying this rule to

Section 2 cases). A live controversy depends on allegations that “each voter resides in a district

where their vote has been cracked or packed.” Harding, 948 F.3d at 307. Whereas Plaintiffs alleged

this as to H.B. 1, and the Court was correct in understanding this as a challenge to H.B. 1, the

Galmon Plaintiffs have no live allegation of harm from their own districts—since there are no

districts. Nor is Plaintiffs’ claim redressable when the reason there is temporarily no congressional

plan is that the Callais court enjoined S.B. 8 and when a new plan is soon to emerge from the

Callais case.

       The Galmon Plaintiffs are also incorrect in their contention that the Callais ruling indicates

that “the wrongful behavior” can occur again. Doc. 372-1 at 4. It is the repeal of H.B. 1 by

“statutory changes” that is “enough to render a case moot, even if the legislature possesses the

power to reenact the statute after the lawsuit is dismissed.” Fantasy Ranch Inc. v. City of Arlington,

Tex., 459 F.3d 546, 564 (5th Cir. 2006) (citation omitted). Because H.B. 1 is repealed by legislative

act, the case is moot. The Callais ruling does not interfere with the repeal of H.B. 1; it no longer

stands as legislation of Louisiana. It therefore does not undermine this Court’s correct holding that

the legislative repeal of H.B. 1 moots this lawsuit.

       B.       A Challenge To a Plan That Does Not Yet Exist Is Unripe

       For these reasons, the Galmon Plaintiffs’ speculation about “the absence of two majority-

minority districts,” Doc. 372-1 at 3, is properly evaluated under the doctrine of ripeness, not

mootness. The Galmon Plaintiffs are not in truth challenging H.B.1 or any districts in any plan,

but are asking this Court to assume jurisdiction over a hypothetical challenge to a future plan that

does not yet exist. But a claim is unripe, and beyond federal jurisdiction, if it is “dependent on




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contingent future events that may not occur as anticipated, or indeed may not occur at all.” Trump

v. New York, 592 U.S. 125, 131 (2020) (citation omitted). Here, the Galmon Plaintiffs’ claim

depends on two contingencies that may never materialize.

       First, the Galmon Plaintiffs assume that the Callais remedial phase will yield a new plan

that does not contain two majority-Black districts. See Doc. 372-1 at 3–4. No one knows whether

that will be so. The Callais court did not “decide on the record before [it] whether it is feasible to

create a second majority-Black district in Louisiana that would comply with the Equal Protection

Clause of the Fourteenth Amendment.” 2024 WL 1903930, at *24. Instead, the court directed a

remedial phase to identify and evaluate plans to remedy the violation the Callais court found. Id.

The Galmon Plaintiffs appear to assume that any plan that emerges from the Callais remedial

phase will violate the Voting Rights Act (VRA). But the Callais court must ensure that any plan it

approves (however configured) complies with federal law, including the VRA. See Abrams v.

Johnson, 521 U.S. 74, 85–100 (1997). Review of its rulings will be available in the Supreme

Court. 4 See 28 U.S.C. § 1253; North Carolina v. Covington, 585 U.S. 969, 975 (2018). It would

be wholly improper to assume that a plan that satisfies both levels of scrutiny will be vulnerable

to any legal challenge. It is difficult to see how a plan the U.S. Supreme Court adjudicates could

be subject to additional review in this Court. At best, that outcome is unlikely. See Doc. 371 at 8

(“The Court cannot presume the outcome of a case outside of its jurisdiction to reach a particular

conclusion for Plaintiffs.”).

       Second, the Galmon Plaintiffs implicitly assume that a new plan will come from

Louisiana’s political branches. But the Callais court itself, or a special master it employs, may



4
  In fact, intervenors in Callais (the Robinson Plaintiffs in this case) have already taken an appeal
from the Callais injunction. The possibility of Supreme Court intervention raises yet another
contingency that renders the Galmon Plaintiffs’ challenge unripe.


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fashion a plan and order the State to implement it. Although courts must “afford a reasonable

opportunity for the legislature to meet constitutional requirements by adopting a substitute

measure,” this rule only applies where that opportunity is “practicable.” Wise v. Lipscomb, 437

U.S. 535, 540 (1978); see In re Landry, 83 F.4th 300, 303 (5th Cir. 2023). It is too late for

redistricting legislation to be proposed in the Legislature’s current session before it ends on or

before June 3, 2024; only a special session sometime after June 3 could yield an enacted plan. That

timing may not be administratively feasible and may (or may not) justify an interim judicial

redistricting. See Perry v. Perez, 565 U.S. 388, 391–92 (2012). The Callais court will decide that

question. Moreover, the Louisiana Legislature is not legally obligated to avail itself of a

redistricting opportunity; it may leave it “for the federal court to devise and order into effect its

own plan.” Wise, 437 U.S. at 540. The Galmon Plaintiffs cannot credibly argue that this Court

would have jurisdiction to review and potentially enjoin a plan crafted and imposed by another

federal court. This contingency, too, renders the Galmon Plaintiffs’ challenge unripe.

       C.      This Court Cannot Conduct the Callais Remedial Process for the Callais Court

       Not content with their untenable request that this Court reopen a moot case to consider an

unripe challenge, the Galmon Plaintiffs double down, declare victory on the merits, and ask this

Court to skip to “remedial proceedings.” Doc. 372-1 at 7. Yet, without a liability ruling in this

Court, there is no basis for remedial proceedings in this Court. Remedial proceedings may occur

only “[w]hen a federal court declares an existing apportionment scheme unconstitutional” or

otherwise unlawful. Wise v. Lipscomb, 437 U.S. 535, 540 (1978). The Galmon Plaintiffs’ request

for remedial proceedings before liability is even alleged (much less proved) violates the Due




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Process Clause and dozens of the Federal Rules of Civil Procedure. 5 The “Fifth Circuit

contemplated” “a trial to determine liability,” Doc. 372-1 at 9, for the basic reason that there can

be no “remedy” without a “wrong.” Growe v. Emison, 507 U.S. 25, 41 (1993). The Galmon

Plaintiffs “have no right to . . . court-ordered relief in the abstract,” but only if they “have proven

that specific conduct by the [State] violates Section 2.” Holloway v. City of Virginia Beach, 42

F.4th 266, 275 (4th Cir. 2022) (finding Section 2 case moot where that had not been shown as to

operative redistricting plan). Just as criminal sentencing cannot occur before a conviction,

remedies cannot be fashioned without a trial, a liability ruling, and an injunction. The Galmon

Plaintiffs’ contrary view “has things backwards.” Id.

        The Galmon Plaintiffs insist that “there is no need for a trial to determine liability” “[n]ow

that Louisiana lacks any operative congressional plan.” Doc. 372-1 at 9. This ignores why there is

no operative plan. It is not because of “specific conduct by the [State]” that can be addressed here,

Holloway, 42 F.4th at 275, but because the Callais court enjoined the plan the Legislature adopted

after the Callais court’s own determination of liability. Accordingly, the absence of a plan is a

temporary state of affairs that the Callais court created and has responsibility to resolve. Precedent

is clear that it is “the federal court” that has “declare[d] an existing apportionment scheme

unconstitutional” that is to preside over the remedial proceedings to resolve the violation. See Wise,

437 U.S. at 540. And the Callais court has expressly stated that such remedial proceedings are

imminent. Callais, 2024 WL 1903930, at *24 (“REMEDIAL PHASE”). No precedent suggests

that, when a federal court enjoins a redistricting plan, plaintiffs can go to a different court, declare



5
  See, e.g., Fed. R. Civ. P. 3 (commencing an action); Fed. R. Civ. P. 4 (summons); Fed. R. Civ.
P. 5 (service); Fed. R. Civ. P. 7 (complaint and answer); Fed. R. Civ. P. 8 (pleading standards);
Fed. R. Civ. P. 12 (defenses and motions to dismiss); Fed. R. Civ. P 26–37 (discovery); Fed. R.
Civ. P. 39 (trial); Fed. R. Civ. P. 50 and 56 (judgment and summary judgment); Fed. R. Civ. P. 54
(findings of fact and conclusions of law); Fed. R. Civ. P. 65 (injunction).


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that the injunction has “plung[ed]” the state “into unlawfulness,” Doc. 372-1 at 9, and open up

remedial proceedings in that other court. 6

       These points answer the Galmon Plaintiffs’ advocacy for “simultaneous” proceedings,

Doc. 372-1 at 9, which are unavailable. Only an injunction can give rise to a remedy, and the only

injunction in play is that of the Callais court. Whether or not there is “inconsistency” between this

Court’s vacated preliminary-injunction ruling and the Callais ruling, id., it is the Callais injunction

that has created the need for a remedy, not an injunction of this Court. For the same reason,

redressability in this Court is lacking: the Defendants in this action did not issue the Callais ruling,

and an injunction against them would not remedy it.

       Moreover, even if there were sometimes discretion for one federal court to conduct

remedial proceedings necessitated by another’s injunction—there is not—Congress forbade that

here by assigning constitutional claims like those raised in Callais to three-judge district courts,

28 U.S.C. § 2284, and assigning review of injunctions and judgments in such cases to the Supreme

Court, see 28 U.S.C. § 1253. The Galmon Plaintiffs ask this Court to violate both statutes—the

first by issuing a remedy in “an action . . . challenging the constitutionality of the apportionment

of congressional districts,” 28 U.S.C. § 2284(a), and the second by effectively sitting in review of

“an interlocutory or permanent injunction . . . determined by a district court of three judges,” id.

§ 1253. Only one congressional plan can govern Louisiana. Congress has directed that it come in

the proceedings overseen by the Callais panel, not these proceedings, which are moot and unripe.

The Court’s prior ruling correctly recognized this; it needs no revisiting now.



6
 This is, then, not a case where different persons allegedly harmed by government action challenge
that action in different courts. See Doc. 372-1 at 10–11 (quoting Health Freedom Def. Fund, Inc.
v. Biden, 572 F. Supp. 3d 1257, 1266 (M.D. Fla. 2021)). This is a case where a liability ruling in
one court has led to a remedial proceeding in that court, but a different court is asked to conduct
parallel remedial proceedings based on the other court’s liability ruling. That does not work.


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                                         CONCLUSION

       For these reasons, the Court should deny the motion for reconsideration.

                                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I certify that on May 6, 2024, a copy of the foregoing pleading was filed electronically with
the Clerk of Court using the CM/ECF System, which will transmit a copy to all counsel of record.

                                                     /s/ Michael W. Mengis
                                                     Michael W. Mengis




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